                          EXHIBIT B




Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 1 of 9 PageID #: 4412
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 2 of 9 PageID #: 4413
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 3 of 9 PageID #: 4414
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 4 of 9 PageID #: 4415
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 5 of 9 PageID #: 4416
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 6 of 9 PageID #: 4417
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 7 of 9 PageID #: 4418
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 8 of 9 PageID #: 4419
Case 3:05-cv-00444 Document 183 Filed 04/28/10 Page 9 of 9 PageID #: 4420
